            Case: 20-1870 Document:
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                                                      Filed 03/21/22

                 Supreme Court of the United States
                        Office of the Clerk
                    Washington, DC 20543-0001
                                                                    Scott S. Harris
                                                                    Clerk of the Court
                                                                    (202) 479-3011
                                   March 21, 2022


   Clerk
   United States Court of Appeals for the Sixth Circuit
   540 Potter Stewart U.S. Courthouse                                    FILED
   100 East Fifth Street                                         Mar 21, 2022
   Cincinnati, OH 45202-3988                                 DEBORAH S. HUNT, Clerk


         Re: Miriam Brysk
             v. Henry Herskovitz, et al.
             No. 21-1024
             (Your No. 20-1870)


   Dear Clerk:

         The Court today entered the following order in the above-entitled case:

         The petition for a writ of certiorari is denied.



                                           Sincerely,




                                           Scott S. Harris, Clerk
